                  Case 1:22-cv-00208-JPW Document 34 Filed 02/24/22 Page 1 of 5




                                      UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF PENNSYLVANIA


      IN THE MATTER OF APPLICATION FOR    :
      ADMISSION TO PRACTICE IN THIS COURT :



                                                        PETITION

                  Joshua Matz
              I BBBBBBBBBBBBBBBBBBBBBBBBBB         hereby petition the United States District
       Court for the Middle District of Pennsylvania to admit me to practice before that
       Court. In support of my petition, I state as follows:

       My office address is:              Kaplan Hecker & Fink

                                         1050 K Street NW Suite 1040

                                          Washington, DC 20001

                Office Telephone:         929-294-2537
             I was admitted to practice before the Courts listed below on the date shown after
       the name of each Court, and I am currently a member in good standing of all those Courts.
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     My attorney Identification number is:              1<1R 5388962

         FOR COURT USE ONLY

                  GENERAL ADMISSION:

         GRANTED BY THE COURT:                                                          Date:

                  SPECIAL ADMISSION:

         GRANTED BY THE COURT                                                           Date:                      _
            Case 1:22-cv-00208-JPW Document 34 Filed 02/24/22 Page 2 of 5



  Please Answer the Following Questions:


         All occasions, if any, on which I have been convicted of a crime (subsequent to my
  becoming an attorney), censured, suspended, disciplined or disbarred by any court are set
  forth as follows: (State the facts and circumstances connected with each; if none, state
  “none”.)
               None.




          All occasions, if any, on which I have been held in contempt of court are set forth
  as follows: (State the nature and final disposition of contempt; if none, state “none”.)


         I do __     , do not       , have any disciplinary action, contempt or other
  proceedings involving me pending before any court. (Check the appropriate space.) If
  there are pending proceedings, please explain:


          I am seeking:

                       General Admission under Local Rule LR 83.8.1

                    Special Admission (specify by placing a checkmark in the appropriate
          rule below)

          LR 83.8.2.1 ;     , LR 83.8.2.2       , LR 83.8.2.3       , or LR 83.8.2.4

  If seeking special admission under Local Rules LR 83.8.2.1, LR 83.8.2.2, LR 83.8.2.3, or
  LR 83.8.2.4, the basis for my admission under the designated rule is as follows:
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LQWHUHVWRIWKH'HIHQGDQWVDQGZLOOIDFLOLWDWHWKHHIILFLHQWOLWLJDWLRQRIWKLVPDWWHU
  NAME THE PARTY YOU REPRESENT:

     'HIHQGDQWV/HKLJK0&KDSPDQ-HVVLFD0DWKLVDQG7RP:ROI

  If special admission is requested for a particular case, please list case number and caption:

  Case # FY-3:
                 :LOOLDP&7RWK-UHWDOY/HKLJK0&KDSPDQHWDO
  Caption #
        Case 1:22-cv-00208-JPW Document 34 Filed 02/24/22 Page 3 of 5




I understand that:

      1)     If seeking admission under Section LR 83.8.2.2, LR 83.8.2.3, or 83.8.2.4, I
             must submit a letter from a superior stating the agency with which I am
             employed and the duties performed which qualify me for admission under
             those sections.

      2)     If petitioning for admission, only in a particular case, under Rule LR 83.8.2.1,
             I need no sponsor’s certificate. Any attorney specially admitted under LR
             83.8.2.1, shall, in each proceeding in which he or she appears, have
             associate counsel who is generally admitted under Local Rule 83.8.1 to
             practice in this court, whose appearance shall also be entered of record and
             upon whom all pleadings, motions, notices, and other papers may be served
             in accordance with any statute or applicable rule. The attendance of any
             such associate counsel upon the hearing of any motion or the taking of any
             testimony shall be sufficient appearance for the party or parties represented
             by such associate counsel. Either the specially admitted attorney or
             associate counsel must be fully prepared to participate in any hearings,
             arguments, conferences, and trials. (See LR 83.9)

             If special admission is requested for a particular case, please list the name,
             address, telephone number and bar identification number of associate
             counsel to be entered of record in the case:
              Robert A. Wiygul, Pa. I.D. No. 310760
              HANGLEY ARONCHICK SEGAL PUDLIN & SCHILLER
              One Logan Square, 27th Floor, Philadelphia, PA 19103; (215) 568-6200

      3)     If seeking general admission under Rule LR 83.8.1, I must be a member of
             the bar of the Supreme Court of Pennsylvania and have a sponsor who is a
             member in good standing of the Bar of this Court present to move for my
             admission and I must submit the sponsor’s certificate with my petition.
                                               Joshua Matz
                                             PETITIONER
                                             5388962 New York
                                             (Bar Identification Number and State where admitted)
                                             February 23, 2022
                                             (Date)

By signing this petition for admission, I acknowledge that I have read the attached
Middle District of Pennsylvania Code of Professional Conduct and agree to subscribe to
the standards set forth in the Code.

NAME OF PETITIONER Joshua Matz
              Case 1:22-cv-00208-JPW Document 34 Filed 02/24/22 Page 4 of 5




SPONSOR’S CERTIFICATE:

         I,                                                    , am a member in good

standing of the Bar of the United States District Court for the Middle District of

Pennsylvania, having been admitted to practice on (month)                    (day)      ,

(year)            . I have known the above petitioner for

                                       . To my knowledge, the petitioner’s moral character

is as follows:




To my knowledge, the petitioner’s educational background and experience are as

follows:




         I sponsor and recommend

for admission as a qualified attorney to practice before this court.



                                                   (sponsor)

                               Office address:




                               Telephone:

                               Attorney Bar I.D. Code No.
        Case 1:22-cv-00208-JPW Document 34 Filed 02/24/22 Page 5 of 5


                            UNITED STATES DISTRICT COURT
                                       FOR THE
                           MIDDLE DISTRICT OF PENNSYLVANIA

                            CODE OF PROFESSIONAL CONDUCT

      As a member of the Bar of the United States District Court for the Middle District
of Pennsylvania, I will strive for the following professional ideal:

1.    The rule of law will govern my entire conduct. I will not violate the law or place myself
      above the law.

2.    I will treat with civility and respect the lawyers, clients, opposing parties, the court and all
      the officials with whom I work. Professional courtesy is compatible with vigorous
      advocacy and zealous representation. Even though antagonism may be expected by
      my client, it is not part of my duty to my client.

3.    I will respect other lawyers' schedules as my own, and will seek agreement on meetings,
      depositions, hearings, and trial dates. A reasonable request for a scheduling
      accommodation should never be unreasonably refused.

4.    Communications are lifelines. I will keep the lines open. Telephone calls and
      correspondence are a two-way channel; I will respond to them promptly.

5.    I will be punctual in appointments, communications and in honoring scheduled
      appearances. Neglect and tardiness are demeaning to others and to the judicial
      system.

6.    I will earnestly attempt to resolve differences through negotiation, expeditiously and
      without needless expense.

7.    Procedural rules are necessary to judicial order and decorum. I will be mindful that
      pleadings, discovery processes and motions cost time and money. I will not use them
      heedlessly. If an adversary is entitled to something, I will provide it without unnecessary
      formalities.

8.    I will not engage in conduct that brings disorder or disruption to the courtroom. I will
      advise my client and witnesses appearing in court of the proper conduct expected and
      required there and, to the best of my ability, prevent my client and witnesses from
      creating disorder or disruption.

9.    Before dates for hearings or trials are set, or if that is not feasible immediately after such
      date has been set, I will attempt to verify the availability of necessary participants and
      witnesses so I can promptly notify the court of any likely problems.

                                                              I agree to subscribe to the above
                                                              Code of Professional Conduct:


                                                               VJoshua Matz
                                                              Signature
